






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00055-CV

NO. 03-06-00057-CV






Cottage GP Partnership II, Ltd.; Cottage GP Development, Inc.; and William B. Bush, Jr.,
Appellants


v.


Connie Heyer, Assignee of the LCN Connie Niemann Heyer Trust; Sherry Niemann,
Assignee of the LCN Sherry Suzanne Niemann Trust; and Nancy Nicole Niemann, 

Assignee of the LCN Nancy Nicole Niemann Trust, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 53RD JUDICIAL DISTRICT

NO. GN403851, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N



	The parties have informed this Court that they have settled the case and no
longer&nbsp;desire to pursue these consolidated appeals.  Accordingly, the parties have filed an agreed
motion signed by all counsel asking this Court to dismiss the consolidated appeals, set aside the
trial&nbsp;court's judgment without regard to the merits, and remand the case to the trial court
for&nbsp;rendition of judgment in accordance with the parties' agreement.  However, this Court does not
have the authority to dismiss an appeal and remand the cause to the trial court.  Tex. R. App. P.
42.01(a)(2)(B).  Accordingly, we construe the motion as a request to set aside the trial court's
judgment without regard to the merits and remand this case to the trial court for rendition of
judgment in accordance with the parties' agreement.  As so construed, we grant the motion and set
aside the trial court's judgment without regard to the merits and remand this case to the trial court
for rendition of judgment in accordance with the parties' agreement.  See id.




					                                                                                    

					W. Kenneth Law, Chief Justice

Vacated and Remanded

Before Chief Justice Law, Justices Puryear and Waldrop

Filed:   February 7, 2007


